              Case 2:04-cr-00118-LKK Document 115 Filed 12/07/07 Page 1 of 2


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7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )              CASE NO. CR.S-04-118-LKK
                                   )
11                  Plaintiff,     )
                                   )              ORDER RE: STATUS CONFERENCE
12        v.                       )
                                   )
13                                 )
     DAVID C. HARRISON, et al.,    )
14                                 )
                    Defendants.    )
15   ______________________________)
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             This matter came on for a status conference on December 4,
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     2007.    The United States was represented by Assistant U.S.
18
     Attorneys John K. Vincent and Matthew D. Segal.            Defendant Robert
19
     Oliver was present and was represented by Scott Tedmon, Esq..
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     Defendant David C. Harrison was present and was represented by
21
     Bruce Locke, Esq..       Defendant Hodges was not present, having a
22
     waiver of appearance on file.         He was represented by Scott
23
     Tedmon, Esq., appearing specially for Mark Reichel, Esq..
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             At the request of defense counsel, and GOOD CAUSE APPEARING
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     THEREFORE, the Court sets the following briefing schedule.
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     Defendant Oliver’s motion for severance is due on December 18,
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     2007.    The government’s response is due on January 15, 2008.            Any
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              Case 2:04-cr-00118-LKK Document 115 Filed 12/07/07 Page 2 of 2


1    reply brief is due on January 22, 2008.           A non-evidentiary
2    hearing on the motion is scheduled for January 29, 2008 at 9:30
3    a.m..
4            Time between December 4, 2007 to December 18, 2007 is
5    excluded under the Speedy Trial Act pursuant to 18 U.S.C. §§
6    3161(h)(8)(B)(ii)(complexity) and 3161(h)(8)(B)(iv)(time to
7    prepare), Local Codes T2 and T4, respectively.            The time from
8    December 18, 2007 to the prompt disposition of the motion is
9    excluded under the Speedy Trial Act pursuant to 18 U.S.C. §§
10   3161(h)(8)(B)(ii)(complexity) and 3161(h)(1)(F)(pretrial
11   motions), Local Codes T2 and E, respectively.
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13   IT IS SO ORDERED.
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15   DATED: December 7, 2007
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